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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA               :    Crim. No. 1:19-CR-304
                                       :
                                       :
                 v.                    :
                                       :
                                       :
DARRYL PIERCE                          :    Judge Sylvia H. Rambo


                                  ORDER
      Before the court is Defendant’s Pretrial Motion to Dismiss Count 5 of the

Indictment. (Doc. 25.) For the reasons outlined in the accompanying memorandum,

the motion is hereby DENIED.

                                           s/Sylvia H. Rambo
                                           SYLVIA H. RAMBO
                                           United States District Judge



Dated: January 12, 2021
